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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



IN RE: FTX Cryptocurrency Exchange                      MDL Docket 3076
Collapse Litigation




                                CERTIFICATE OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing Notice of

Appearance and this Certificate of Service were electronically filed with the Clerk of the JPML

by using the CM/ECF system, and copies of same were sent by email and mail to all parties on

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